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                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8
 9    UNITED STATES OF AMERICA,
10                                                         CASE NO. CR04-128 MJP

11            Plaintiff,                                   SUMMARY REPORT OF U.S.
12                                                         MAGISTRATE JUDGE
                  v.                                       AS TO ALLEGED VIOLATIONS
13                                                         OF SUPERVISED RELEASE
      MELISSA MAE SCHELDT,
14            Defendant.
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16
17                                          INTRODUCTION

18        I conducted a hearing on alleged violations of supervised release in this case on April 5, 2007.

19   The United States was represented by Tate London. The defendant was represented by Richard

20   Troberman.

21                                  CONVICTION AND SENTENCE

22        Defendant had been convicted of Conspiracy to Make, Utter, Possess Counterfeit Securities,

23   in violation of 18, U.S.C., § 371, on or about April 18, 2005. The Hon. Marsha J. Pechman of this

24   court sentenced Defendant to three years of supervised release. The conditions of supervised

25   release included requirements that defendant comply with the standard 13 conditions.

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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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 1                                     DEFENDANT'S ADMISSION
 2          USPO Brian Facklam alleged that Defendant violated the conditions of supervised release in
 3   the following respects:
 4          (1)    Committing the crime of prostitution, in violation of the general condition that she not
 5                 commit another federal, state or local crime.
 6          (2)    Possessing identification in a name other than her own in violation of special condition
 7                 12.
 8          (3)    Failing to deposit all income, monetary gains, or other pecuniary proceeds into a
 9                 single checking account and failing to use this account for payment of all personal
10                 expenses in violation of special condition 9.
11          (4)    Failing to provide probation officer with receipts or documentation showing her cash
12                 income and source of income in violation of special condition 11a.
13          (5)    Associating without permission with a person convicted of a felony in violation of
14                 standard condition 9.
15          (6)    Failing to allow officer to visit at any time at home or elsewhere in violation of
16                 standard condition 10.
17          (7)    Failing to answer truthfully to all inquiries by the probation officer in violation of
18                 standard condition 3.
19   I advised the defendant of these charges and of her constitutional rights. At today’s hearing
20   Defendant admitted violation numbers 3, 4, 5, and 7, waived any hearing as to whether they
21   occurred, and the Government has agreed to withdraw violation numbers 1, 2, and 6. The
22   defendant consented to having the matter set for a disposition hearing before the Hon. Marsha J.
23   Pechman.
24   //
25   //
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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 1                      RECOMMENDED FINDINGS AND CONCLUSIONS
 2         Based upon the foregoing, I recommend the court find that Defendant has violated the
 3   conditions of her supervised release as alleged and set the matter for a disposition hearing.
 4   Defendant shall remain under supervised release pending final determination by the court.
 5         DATED this 6th day of April, 2007.
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 9                                                     MONICA J. BENTON
                                                       United States Magistrate Judge
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21   cc:   Sentencing Judge             :       Hon. Marsha J. Pechman
           Assistant U.S. Attorney      :       Tate London
22         Defense Attorney             :       Richard Troberman
           U. S. Probation Officer      :       Brian Facklam
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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